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                                                                                 2019 Jun-27 AM 10:36
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA
                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF
                      ALABAMA SOUTHERN DIVISION

ISAAC BESTER                                      )
                                              )
       Plaintiff,                                 )
                                              )
v.                                            )        CASE NO. 2:19-cv-00541-ACA
                                                )
ROCO REAL ESTATE, LLC and                       )
ROCO MANAGEMENT, LLC                            )
                                              )
       Defendants.                              )

              REPORT OF PARTIES' PLANNING CONFERENCE

      Come now the Parties in the above-referenced case and, pursuant Fed. R.
Civ. P. 26, set forth the details for the Parties Planning Conference and the
proposed deadlines in this case.

1.    Appearances:

      Pursuant to Fed. R. Civ. P. 26(f), a conference of the Parties' representatives
was held on June 13, 2019 among the following:

      a.       Appearing on behalf of the Plaintiffs: D. Patrick Evans of The Evans
               Law Firm, P.C., 1736 Oxmoor Road, Homewood, Alabama 35209
               and Daniel Arciniegas of Arciniegas Law, PLLC, 5021 Union Street,
               Suite 430, Nashville, TN 37219.

      b.       Appearing on behalf of Defendants: Colin Sherman of Sherman &
               Lacey, LLP, 118 N. Royal St., Suite 702, Mobile, AL 36602.

2.    Amended Pleadings:

      a.       The Parties propose that all pleadings must be amended without the
               leave of Court by August 30, 2019.

      b.       Responses are due 21 days thereafter.


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3.   Discovery Limitations and Cutoffs:

     a.       Pre-discovery disclosure: The Parties shall exchange the information
              required by Local Rule 26.1(a)(1) by June 7, 2019.

     b.       The period for discovery shall commence June 27, 2019

     c.       All discovery to be completed by June 19, 2020.

     d.       Unless modified by written and filed Stipulation of the Parties:

              I.     Depositions:

                     Maximum of 7 depositions per party, with a maximum time
                     limit of 7 hours per deposition, excluding breaks and lunch.

              ii.    Interrogatories:

                     Maximum of 35 interrogatories be allowed by each party, with
                     responses due within 30 days after service.

              iii.   Requests for Admission:

                     Maximum of 35 requests for admission be allowed by each
                     party, with responses due within 30 days after service.

              iv.    Request for Production:

                     Maximum of 35 requests for production be allowed by each
                     party, with responses due within 30 days after service.

              v.     Supplementation:

                     Supplementation of disclosures under Rule 26(e), Fed. R. Civ.
                     P., are due as required therein, but no later than 40 days before
                     the close of discovery.

4.   Expert Testimony:
     a.   Plaintiffs’ Expert Reports are due by April 3, 2020 with the expert to
          be submitted for deposition on or before June 5, 2020.
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      b.       Defendants’ Expert Reports due by April 24, 2020 with the expert to
               be submitted for deposition on or before June 5, 2020.

5.    Dispositive Motions:

      All potentially dispositive motions must be filed by July 13, 2020.

6.    Pre-Trial Conference:

      The Parties request a pre-trial conference on August 12, 2020.

7.    Trial:

       The Parties request this case be set for trial within 14 to 16 months of the
date of the Court’s scheduling order and propose the civil trial term of September
8, 2020. The trial of this case will take approximately 3-4 days, including jury
selection.

8.    Final Lists:

      The deadlines for serving and filing lists of trial witnesses and exhibits under
Rule 26(a)(3), Fed.R.Civ.P., or any objections thereto, shall be set in accordance
with the pretrial order. Final lists of trial witnesses and exhibits under Rule
26(a)(3), Fed.R.Civ.P., must be served and filed:

      a.       By the Plaintiff:       42 days prior to the trial date.

      b.       By the Defendants:      42 days prior to the trial date.

      Objections are to be filed within 10 days after receipt of final lists of trial
witnesses and exhibits.

9.    Settlement/Mediation:

     The Parties are currently engaged in settlement discussions at this time.
Counsel will further advise the Court regarding their position on settlement and
mediation after some discovery.

10.   Electronic Discovery:

     Plaintiffs will preserve electronic documents related to their claims or
Defendants' defenses in their possession, custody, or control, including but not
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limited to all electronic documents or records from third parties created or
reviewed by any decision maker in this case that concern Plaintiffs, their claims,
their treatment, or Defendants' defenses.

        Defendants will preserve electronic documents in their possession, custody
or control that relate to Plaintiffs’ claims or Defendants' defenses, including but not
limited to all electronic documents or records from third parties created or
reviewed by any decision maker in this case that concern Plaintiffs, their claims,
their treatment, or Defendants' defenses.

11.   Summary of the Case:

      This is wage and hour case under the Fair Labor Standards Act. The Parties

agree that this case is not complex.

      PLAINTIFF’S POSITION:

      Plaintiff Bester worked for Defendants from May 3, 2017 until
      January 29, 2018 as an hourly employ. Plaintiff was terminated after
      complaining about Defendants wage and hour violations. At all
      relevant times, Plaintiff was a non-exempt employee per the FLSA
      and Defendants were Plaintiff’s employer for FLSA purposes.

      Throughout Plaintiff’s employment, Defendants knowingly and
      willfully required Plaintiff to work overtime and be on call, whereby
      Defendants failed to compensate Plaintiff for the hours he routinely
      worked over forty (40) hours in a given workweek. Defendants
      knowingly and willfully failed to comply with the legal requirements
      of the Fair Labor Standards Act. Plaintiff sued Defendants to recover
      compensation that was never paid by Defendants for the hours he
      worked and/or was forced or permitted to work.

      As a result of Defendants’ willful actions and inaction, Plaintiff was
      not paid in accordance with the Fair Labor Standards Act ("FLSA"),
      29 U.S.C. § 207.

      DEFENDANTS’ POSITION:

      Defendants deny any allegation of a FLSA violation. If anything,
      Plaintiff was overpaid during the initial four payroll periods of his
      employment tenure.
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      Plaintiff, a Maintenance Supervisor, was mistakenly classified as non-
      exempt when hired on May 3, 2017. The mistake was purely in good
      faith and corrected on or about July 10, 2017. In its determination
      that Plaintiff was an exempt employee, Defendants acted in reliance
      upon judicial interpretations of Department of Labor rulings.

12.   Summary of Proposed Deadlines: Assuming that the period for discovery

begins June 27, 2019, the foregoing deadlines would be as follows:

      Discovery Commencement:                    June 27, 2019

      Discovery Completion:                      June 19, 2020.

      Plaintiffs to Disclose Expert(s) by:       April 3, 2020

      Defendants to Disclose Expert by:          April 24, 2020

      Dispositive Motions/ Brief

      and Evidentiary Material by:               July 13, 2020

                                       RESPECTFULLY SUBMITTED,

                                        s/ Daniel Patrick Evans
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                                        R67G) Attorney for the Plaintiff
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